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AO 98 (Rev. 12/11) Appearance Bond




                                      UNITED STATES DISTRICT COUR T
                                                                     for the
                                                         Middle District of Georgia

                    United States of America                              )
                                     V.                                   )
                                                                          )    Case No. 4:21-CR-2 3-001
                                                                          )
                         DEREEN PORCH
                                                                          )
                              Defendant

                                                           APPEARANCE BOND

                                                          Defendant's Agreement

I,                        DEREEN PORCH                           (defendant), agree to follow every order of this court, or any
court that considers this case, and I further agree that this bond may be forfeited ifl fail:
            ( IZI ) to appear for court proceedin gs;
            ( IZI ) if convicted, to surrender to serve a sentence that the court may impose; or
            ( IZI ) to comply with all conditions set forth in the Order Setting Condition s of Release.

                                                                 Type of Bond
 ( D ) (1) This is a personal recogniza nce bond.

 ( IZJ ) (2) This is an unsecured bond of$ -
                                           10,000.00
                                             -----------
 ( D) (3) This is a secured bond of$                _ _ _ _ _ _ _ _ _ _ , secured by:

          ( D ) (a) $ _ _ _ _ _ _ _ _ , in cash deposited with the court.

          ( D ) (b) the agreemen t of the defendant and each surety to forfeit the following cash or other property
                                                                                                                                 proof of
                   (describe the cash or other property, including claims on it - such as a lien, mortgage, or loan - and attach
                   ownership and value):



                   If this bond is secured by real property, document s to protect the secured interest may be filed ofrecord.

          ( D ) (c) a bail bond with a solvent surety (attach a copy of the bail bond, or describe it and identify the surety):




                                                      Forfeiture or Release of the Bond

                                                                                                           the above
  Forfeiture of the Bond. This appearanc e bond may be forfeited if the defendant does not comply with
                                                            of  the bond surrendere d to the United  States, including the
  agreement. The court may immediate ly order the amount
                                                                             . At the  request of the United   States, the court
  security for the bond, if the defendant does not comply with the agreement
                                                                                           amount  of the bond,   including
  may order a judgment of forfeiture against the defendant and each surety for the entire
  interest and costs.
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Release of the Bond. The court may order this appearance bond ended at any time. This bond will be satisfied and the
security will be released when either: (1) the defendant is found not guilty on all charges, or (2) the defendant reports to
serve a sentence.

                                                              Declarations

Ownership of the Property. I, the defendant - and each surety - declare under penalty of perjury that:
          (l)          all owners of the property securing this appearance bond are included on the bond;
          (2)          the property is not subject to claims, except as described above; and
          (3)          I will not sell the property, allow further claims to be made against it, or do anything to reduce its value
                       while this appearance bond is in effect.

Acceptance. I, the defendant - and each surety - have read this appearance bond and have either read all the conditions
of release set by the court or had them explained to me. I agree to this Appearance Bond.




 I, the defendant- and each surety - declare under penalty of perjury that this information is true. (See 28 U.S.C.§ 1746.)


 Date: Ov,      -\ 4 · '2.D 2..(                                           a                       AL-
                                                                                             Defeldant 's signature




                     Surety/property owner - printed name                          Surety/property owner - signature and date




                     Surety/property owner - printed name                          Surety/property owner - signature and date




                     Surety/property owner - printed name                           Surety/property owner - signature and date




                                                                       CLERK OF COURT


  Date:   l.LJ - }

  Approved.
                                                                          L
  Date: -6/14/2021
          -----
                                                                                        s/ Stephen Hyles
                                                                                                 Judge 's signature
